






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00836-CR






William Henry Zientek, Appellant


v.


The State of Texas, Appellee






FROM THE COUNTY COURT OF MILAM COUNTY

NO. CR31073, HONORABLE DAVID L. BARKEMEYER, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N

PER CURIAM

		Appellant William Henry Zientek has filed a pro se notice of appeal from his
conviction for the misdemeanor offense of driving while intoxicated.  Appellant's brief was due in
this Court on August 22, 2012.  On September 10,  we notified appellant that his brief was overdue
and that if we did not receive a satisfactory response on or before September 20, 2012, a hearing
before the district court pursuant to Tex. R. App. P. 38.8(b) would be ordered.  To date, no brief has
been filed, nor have we received a response from appellant.

		We therefore abate the cause and remand it to the trial court to hold a hearing in
accordance with rule 38.8 of the rules of appellate procedure.  Tex. R. App. P. 38.8(b)(2), (3).  The
trial court shall hold a hearing immediately to determine whether appellant still wishes to prosecute
his appeal and whether appellant is indigent.  See id.  If appellant desires to appeal and is indigent,
the trial court should make appropriate orders to ensure that appellant is adequately represented
on&nbsp;appeal.  See id.  Following the hearing, the trial court should order the appropriate supplementary
clerk's and reporter's records to be prepared and forwarded to this Court no later than February 11,
2013.  See id.



Before Justices Puryear, Pemberton and Rose

Abated

Filed:   January 10, 2013

Do Not Publish


